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                      Inner City Press
June 14, 2021
By E-mail to WoodsNYSDChambers@nysd.uscourts.gov
Hon. Gregory H. Woods, United States District Judge
Southern District of New York, 500 Pearl Street New York, NY 10007

Re: Press and Public Access to submissions in US v. Edwards, 19-cr-64 (GHW)
Dear Judge Woods:
  I write for a second time pursuant to your June 6, 2021 order and in supplemental
support of the July 21, 2021 application for press and public access to submissions
to this Court by defendant Natalie Mayflower Sours Edwards, that triggered a
judicial conference.
  Those submissions, which the US references in its filing of today's date, were
also referred to by the defendant at sentencing. While not entirely clear, she
appeared to thank the Court not only for considering but also acting on her
submission. That would seem to make them judicial documents - and the decision
to the contrary should be reconsidered in light of what was said at sentencing.
 The US Attorney's Office which stood by as those submissions were sealed now
refers to them as relevant background to its filed of MSPB documents it does not
want sealed. Both sets of documents should be public: the MSPB filing already in
the public docket, and the defendant's submission which remain, for now, sealed.
 Tellingly, the defendant wants both sets of documents withheld from the press
and public; the US wants what it made public to remain so, but is indifferent to the
sealing of defendant's submissions it already saw. The Press wants both sets of
documents made part of the record. See US v. Gerena, 869 F.2d 82 (2d Cir. 1989)
 For consistency, and to provide transparency into what the defendant was
thanking the Court for during her sentencing, all of the records should be made
public and part of the docket, as should this application / opposition.
 Respectfully submitted,
/s/
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